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         EXHIBIT
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 SHA1 File Checksum
This SHA1 online tool helps you calculate the hash of a file from local or URL using SHA1 without uploading the
file. It also supports HMAC.

                                                                                                                71
 Input                                                                                                     1/




                                               IMG O471.mov




                                                                                                                7i
Output                                                                                                0 ^
15bl351b6b22b5417cc6916f366d36c3f2996b7d




Settings


                                                    Hash



         Auto Update


         Remember Input

Input Type

  File
